Case 1:25-cv-01161-TJK   Document 2-5   Filed 04/16/25   Page 1 of 2




     EXHIBIT 3
        Case 1:25-cv-01161-TJK           Document 2-5         Filed 04/16/25      Page 2 of 2



                             ®ffitt of f~t 1\ttornt{! ~tnernl
                                   Bas ~ingtcn. ID. QI. 20,530



                                           February 5, 2025


MEMORANDUM FOR ALL DEPARTMENT EMPLOYEES


FROM:                   THE ATTORNEY GENERAL ~ ... J


SUBJECT:                RESTORING A MEASURE OF JUSTICE TO THE FAMILIES OF
                        VICTIMS OF COMMUTED MURDERERS 1

        Former President Biden's death sentence commutations undermined our justice system and
subverted the rule of law. The commutations also robbed the victims' families of the justice
promised-and fought hard to achieve-by the Department of Justice. The Department of Justice
is directed to immediately commence the following actions to achieve justice for the victims'
families of the 37 commuted murderers.

       First, the Department of Justice will explore opportunities to provide a public forum for
the victims' families to express how the commutations affected them personally. This is an
important step not only in achieving accountability, but also in building back the trust of these
individuals and anyone else who has lost a loved one to violent crime.

        Second, the relevant U.S. Attorney's Offices are directed to assist local prosecutors in
pursuing death sentences under state law against the 37 commuted inmates, where appropriate and
legally permissible, and after consultation with the victims' families and other interested parties.
The Capital Case Section shall assist the United States Attorney's Offices in implementing this
directive.

        Third, the Federal Bureau of Prisons is directed to ensure that the conditions of confinement
for each of the 37 commuted murderers are consistent with the security risks those inmates present
because of their egregious crimes, criminal histories, and all other relevant considerations.




1 This guidance is not intended to, does not, and may not be relied upon to create, any right or

benefit, substantive or procedural, enforceable at law or in equity by any party against the United
States, its departments, agencies, or entities, its officers, employees, or agents, or any other person.
